           Case 1:21-cr-00117-RCL Document 213 Filed 03/01/23 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                        Case No. 1:21-cr-117 (TFH)
                           )
RYAN NICHOLS,              )
                           )
                Defendant. )

              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to the Local Rules for this Court, Rule LCrR 44.1(c) as amended May 26, 2022,

the undersigned hereby moves this Court for an Order granting Attorney BRADFORD L. GEYER

admission to practice pro hac vice in this U.S. District Court for the District of Columbia for the

purpose of appearing as counsel for the Defendant RYAN NICHOLS in the above-captioned

matter. Attorney Geyer is a member in good standing of the Bar of New Jersey and is also admitted

to practice as an active member in good standing Pennsylvania. Attorney Geyer's declaration in

support, and certificate of his good standing in New Jersey, are attached pursuant to Rule LCrR

44.1(c).


Dated March 1, 20223                                  Respectfully submitted,
                                                     /s/ Carolyn A. Stewart

                                                     Carolyn A. Stewart, Bar No. FL-0098
                                                     Defense Attorney
                                                     Stewart Country Law PA
                                                     1204 Swilley Rd.
                                                     Plant City, FL 33567
                                                     Tel: (813) 659-5178
                                                     E: Carolstewart_esq@protonmail.com
        Case 1:21-cr-00117-RCL Document 213 Filed 03/01/23 Page 2 of 2




                               CERTIFICATE OF SERVICE

     I hereby certify that on the 1st day of March 2023, a copy of the foregoing with exhibits

was served upon all parties as forwarded through the Electronic Case Filing (ECF) System.

                                            /s/ Carolyn Stewart, Esq.
                                            Carolyn Stewart, Esq.
